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CLEVELAND COMMUNICATIONS, INC. RADIO SYSTEM
USER AGREEMENT

THIS RADIO SYSTEM AGREEMENT (The “Agreement”) is made
and entered into this 2 ) = day of Dec embsey See the State of Ohio,
by and between Cleveland Communications, Inc. whose principal business address
is 5220 Hauserman Rd. Parma, OH 44130 hereinafter referred to as “CCI”,

and Nechestev Five V\ep7, , whose principal address

isx CO Eagle ST [techeshef OH44.9(C' hereinafter referred to as the “User”.

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ARTICLE I

RADIO SYSTEM USE

1.0 CCI hereby grants to User, for the purposes public safety forces, service
departments and or other municipal radio users in connection with public
functions and duties of User, access to the CCI public safety simulcast, 700
MHz, trunked radio system in Lorain User under the following terms and
conditions.

2.0 The term of this Agreement shall commence upon execution by the public
official(s) authorized to do so on behalf of the User. The term of this
Agreement shall be continuous from its commencement and shall be in force
for a period of Five (5) years. Renewal of this Agreement shall be automatic
unless prior written notice is given by either party no less than sixty (60) days
prior to the renewal date.

ARTICLE MI

FEES

3.0 Commencing with the first full month following execution of this Agreement
User shall pay to CCI a monthly fee (the “Usage Fee”) in the amount of

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$40.00 per control station radio and $10.00 per terminal mobile or portable
radio. Usage Fee’s shall be payable upon invoice to CCI at its principle
address. Usage Fee’s set forth in this Agreement may be adjusted at the
renewal period of this Agreement. The adjustment amount shall be in
accordance with the RFP response dated October 14, 2022 listed in the fifteen

year cost of ownership on page eight of section 12 of the CCI response, as
amended.

Total number of Mobiles (,
Total number of Portables | ¥

Total number of Control Stations

ADDITIONAL FEES

3.1 Monthly wireline dispatch console fee $60.00 (per position)
3.2 Monthly BeOn fee $10.00

3.3 BeOn activation fee $ 295.00

3.4 Pager programming fee $50.00

3.5 Monthly Backup Radio Fee $10.00

3.6 Users may be subject to additional “Fees” based on a technology need
presented by the User that requires additional equipment investment by
CCI. The additional “Fees” will be agreed to by both parties prior to
commencement of the technology upgrade.

ATRICLE IV

DEFAULT

3.7 In the event of any breach of this Agreement by User, CCI in addition to
the other rights or remedies it may have, shall have the right to
terminate this Agreement upon sixty (60) days written notice to User.
Should User not cure its default within the sixty (60) day period, CCI
shall exclude User from access to any and all assigned talk groups or
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3.13No amendment, modification, or alternation of the terms hereof shall be
binding unless the same be in writing, dated subsequent to the date
hereof, and duly executed by the parties hereto.

3.14In case any one or more of the provisions contained in this Agreement
shall, for any reason, held to be invalid, illegal of unenforceable in any
respect, such invalidity, illegality, or unenforceability, shall not affect
any other provision thereof and this Agreement shall be construed as if
such invalid, illegal, or unenforceable provision had never been
contained herein.

3.15 This Agreement constitutes the sole and only Agreement of the parties
hereto and supersedes any prior understandings or written or oral
agreement between the parties respecting to this Agreement.

3.16 The rights and remedies provided by this Agreement are cumulative
in the use of any one right or remedy by either party and shall not
preclude or waive its right to use any or all other remedies. Said rights
and remedies are given in addition to any other rights the parties may
have by law, statute, ordinance, or otherwise.

IN WITNESS WHEREOF, the parties have executed the Agreement as of

this QF" day of Yeo moe 2623, 20093, KE

CCI:
Cleveland Communications, Inc.

ay: (Nyce >

Alan Close, President —

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STATE OF OHIO )
) SS:
CUYAHOGA USER )

BEFORE ME, a Notary Public for said User and State, personally appeared
Alan Close, President of Cleveland Communications, Inc. who severally
acknowledges that he did sign the Agreement on behalf of Cleveland
Communications, Inc. and that the same is his free act and deed.

IN TESTIMONY WHEREOF, I have hereunto set my hand and official
seal this Sq __ day of Decems, bec , 2022.

“NOTARY PUBLIC

My Commission Expires:
March 15, 2095

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USER:

BY: Chie fF Liens Lan

STATE OF OHIO )
) SS:
CUYAHOGA LERAIN  )

BEFORE ME, a Notary Public for said User and State, personally appeared
“Dp voe Facto) , who severally acknowledges that he did sign
the Agreement on behalf ofkitiwste/ Hire Dept and that the same is his free
act and deed. : :

IN TESTIMONY WHEREOEF, I have hereunto set my hand and official

seal this 2 day of — December 2023

4 KATHRYN FROMBAUGH
ea: NOTARY PUBLIC
; INAND FOR THE STATE OF OHIO

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